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            UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF NEW YORK

                                                                                       ) Chapter 11
            In re:                                                                     )
                                                                                       ) Case No. 22-10943 (MEW)
            VOYAGER DIGITAL HOLDINGS, INC. et al.,1
                                                                                       )
                                                     Debtors                           ) (Jointly Administered)
                                                                                       )

                DECLARATION OF STATUS AS A SUBSTANTIAL SHAREHOLDER2

                     PLEASE TAKE NOTICE that the undersigned parties are collectively

            Substantial Shareholders with respect to the existing classes of common stock,

            including the variable voting shares (the “Variable Voting Shares”), or any

            Beneficial Ownership therein (the Variable Voting Shares and any such record or

            Beneficial Ownership of common stock, collectively, the “Common Stock”) of

            Voyager Digital Ltd. (“Voyager Digital”). Voyager Digital is a debtor and debtor




            1
                 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
                 number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (N/A); and Voyager Digital, LLC
                 (8013). The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY
                 10003.
            2
                 For purposes of this Declaration: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
                 Ownership of at least 4.5 percent of any class (or series) of Common Stock; and (ii) “Beneficial Ownership”
                 will be determined in accordance with the applicable rules of sections 382 and 383 of the Internal Revenue
                 Code of 1986, 26 U.S.C. §§ 1–9834 as amended (the “IRC”), and the Treasury Regulations thereunder (other
                 than Treasury Regulations section 1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive
                 ownership (e.g., (1) a holding company would be considered to beneficially own all equity securities owned by
                 its subsidiaries, (2) a partner in a partnership would be considered to beneficially own its proportionate share of
                 any equity securities owned by such partnership, (3) an individual and such individual’s family members may
                 be treated as one individual, (4) persons and entities acting in concert to make a coordinated acquisition of
                 equity securities may be treated as a single entity, and (5) a holder would be considered to beneficially own
                 equity securities that such holder has an Option to acquire). An “Option” to acquire stock includes all interests
                 described in Treasury Regulations section 1.382-4(d)(9), including any contingent purchase right, warrant,
                 convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar interest,
                 regardless of whether it is contingent or otherwise not currently exercisable.



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            in possession in 22-10943 (MEW) pending in the United States Bankruptcy Court

            for the Southern District of New York (the “Court”).

                     PLEASE TAKE FURTHER NOTICE that, as of July 26, 2022, the

            undersigned parties respectively have Beneficial Ownership of Common Stock as

            set forth below. The following table sets forth the date on which each of the

            undersigned parties acquired Beneficial Ownership of such Common Stock:


                   Beneficial Owner                     Number          Date Acquired       Taxpayer
                                                        of Shares                              ID

        Alameda Ventures Ltd.                          7,723,995    October 28, 2021        N/A

        Alameda Research Ventures LLC 10,457,265 May 20, 2022                               N/A



                     PLEASE TAKE FURTHER NOTICE that, pursuant to that certain

            Interim Order (I) Approving Notification and Hearing Procedures for Certain

            Transfers of and Declarations of Worthlessness with Respect to Common Stock

            and (II) Granting Related Relief [Docket No. 58] (the “Order”), this declaration

            (this “Declaration”) is being filed with the Court and served upon the Notice

            Parties (as defined in the Order).

                     PLEASE TAKE FURTHER NOTICE that, at the election of each

            Substantial Shareholder, the Declaration to be filed with this Court (but not the

            Declaration that is served upon the Notice Parties) may be redacted to exclude the


                                                              2
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            Substantial Shareholder’s taxpayer identification number and the amount of

            Common Stock that the Substantial Shareholder beneficially owns.

                     PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746,

            under penalties of perjury, each of the undersigned parties hereby declares that he

            or she has examined this Declaration, and, to the best of his or her knowledge and

            belief, this Declaration is true, correct, and complete.

                                                                 Respectfully submitted,
                                                                 Alameda Ventures Ltd.
                                                                 By:

                                                                 Name: Sam Bankman-Fried
                                                                 Address: F20, 1st Floor, Eden Plaza
                                                                          Eden Island, Seychelles


                                                                 Alameda Research Ventures LLC
                                                                 By:

                                                                 Name: Sam Bankman-Fried
                                                                 Address: 2000 Centre Street, 4th Floor
                                                                          Berkeley, CA 94704


            Dated: July 26, 2022
             Calistoga          CA
            _______________,   _______

                     (City)           (State)




                                                             3
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